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                     UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

In re:
                                             Case No. 18-34526 (DRJ)
          ANTHONY PIGGUE,
                                             Chapter 7
               Debtor.

                         TRUSTEE’S REPORT OF SALE

                     (This relates to the Sale Order at Dkt. 155)

         1.   Christopher Murray, the trustee in this chapter 7 case (“Trustee”) files

this Report of Sale regarding the auction of a Pontiac Catalina.

         2.   On May 21, 2018, the Debtor filed for relief under chapter 7.

         3.   On April 8, 2019, the Trustee filed his Motion to Employ Auctioneer

and to Conduct Auction Sale of Property of the Estate Free and Clear of Liens,

Claims and Encumbrances Pursuant to 11 U.S.C. §§ 363(b) and (f) and Request for

Expedited Consideration [Dkt. 153].

         4.   No objections to the motion were filed or received by the Trustee.

         5.   On April 10, 2019, the Court Granted Trustee’s Motion to Employ

Auctioneer and to Conduct Auction Sale of Property of the Estate [Dkt. 155]

authorizing the sale of a 1964 Pontiac Catalina by Webster’s Auction Palace, Inc.,

whose 15% commission was also approved. [Dkt. 20].

         6.   After advertising the auction in the Houston Chronicle on June 13,

2019 and June 16, 2019, Webster’s held an auction on June 16, 2019, with

approximately 100 people in attendance and 75 registered bidders. The Pontiac was

sold for $8,800. Less the 15% commission, the net to the estate was $7,480. The

auctioneer’s report is attached at Exhibit A.
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                                               Respectfully submitted,

                                               /s/ Christopher Murray
                                               Christopher Murray, Trustee
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                               Certificate of Service

      On July 1 2019, I served a copy of this pleading through the Court’s ECF

system on all parties registered to receive such service. I also served a copy by first

class mail to all parties appearing on the attached creditor matrix.


                                                 /s/ Christopher Murray




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                           Exhibit A




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